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U'NITED STATES DISTRICT COURT
FOR THE DISTR_ICT OF COLUMBM

GILBERT P. HYATT,
Plaintiff,
V. Civil Action No. 05-2310 (RCL)
JOSEPH MATAL,

Defendant.

 

 

Order

 

Upon consideration of the Parties’ agreement regarding the submission of Post-trial
Proposed Findings of Fact and Conclusions of Law, it is hereby

ORDERED that the following briefing schedule be set: Opening filing by PlaintiH"
by February 5, 2018; responsive filing by Def"endant on March 2, 2018; reply filing by
Plaintjff on March 21, 2018.

SO ORDERED.

 

Dace: /%W..._/ / § .2013 ZL,C. w

y Hoyce C. Lamberth
United States District lodge

